         Case 20-12774-amc                     Doc       Filed 08/03/21 Entered 08/03/21 13:04:28                                  Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 4
 Debtor 1               Lynn Cox
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        20-12774
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Santander Bank, N.A.
 Name of creditor: _______________________________________                                                           11
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          0 ____
                                                         ____ 7 ____
                                                                9 ____
                                                                     3                   Must be at least 21 days after date        08 22 21
                                                                                                                                    ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                           245.01
                                                                                                                                    $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                           New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
                                      number of days in the month changes the amount due
                   Reason for change: ___________________________________________________________________________________
                                               242.35
                   Current mortgage payment: $ _______________                                                 245.01
                                                                                       New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                               page 1
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Debtor 1
                  Lynn Cox
                 _______________________________________________________
                                                                                                                   20-12774
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



    _____________________________________________________________
     Signature
                                                                                               Date
                                                                                                       08 03      2021
                                                                                                       ____/_____/________



                                                                                                       Bankruptcy Administrator
                     Melissa A. Epler
 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company
                     Santander Bank, N.A.
                    _________________________________________________________


                     450 Penn Street
 Address            _________________________________________________________
                    Number                 Street

                    Reading                            PA        19602
                    ___________________________________________________
                    City                                                State       ZIP Code


                      610        401      9312                                                         DeftBkr@santander.us
 Contact phone      (______) _____– _________                                                  Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
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                                                                                                                         STATEMENT OF ACCOUNT
                                                                                                               Account Number:
                                                                                                               Statement Period From:                     06/30/2021
                                                                                                               Statement Period Through:                  07/30/2021
                                                                                                               Days in Statement Period                             31
                                                                                                               Current Balance                             27,802.04
                                                                                                               Credit Line Amount:                              0.00
                 LYNN R COX
                                                                                                               Available Credit
                 1204 HARRISON ST                                                                                                                              0.00

                 PHILA, PA 19124-2910
                                                                                                               Minimum Payment:                               245.01
                                                                                                               Payment Due Date:                          08/22/2021



                                                            IMPORTANT MESSAGES




Principal Due                             $115.51                                       Beginning Balance                                  $27,972.54
INTEREST CHARGE Due                       $129.50                                       Advances                                                  $0.00
Past Due Amount                                $0.00                                    Payments Received                                    $300.00
Late Charges Due                               $0.00                                    INTEREST CHARGE                                       129.50
Total Minimum Payment Due                 $245.01                                       Ending Balance                                     $27,802.04


                                           SUMMARY OF REVOLVING ACCOUNT BALANCE
Periodic Rate From                             06/30/2021                                  Periodic INTEREST CHARGE                                       $129.50
Periodic Rate Through                          07/30/2021                                  ANNUAL PERCENTAGE RATE                                          5.5000
Payment Amount                                     245.01
Daily Periodic Rate*                       .0001506849
Balance Subject to Interest Rate               $27,723.31                                  Ending Principal                                          $27,672.54
      * The daily periodic rate may vary

                                     TRANSACTION ACTIVITY SINCE YOUR LAST STATEMENT
Posting Date         Effective Date  Activity Description                               Amount        Balance
                     06/30/2021   BEGINNING PRINCIPAL                                               27,846.43
07/02/2021           07/01/2021   PAYMENT RECEIVED - THANK YOU                          250.00      27,722.54
                                  TO PRINCIPAL                                          123.89
                                  ** INTEREST CHARGE **                                 126.11
07/29/2021      07/29/2021        PAYMENT RECEIVED - THANK YOU                           50.00      27,672.54
                                  TO PRINCIPAL                                           50.00
                07/30/2021        ENDING PRINCIPAL                                                  27,672.54
   ************************************************** FEES *************************************************
                                           TOTAL FEES THIS PERIOD                                                                          0.00
    ******************************************* INTEREST CHARGED *******************************************
                                   TOTAL INTEREST THIS PERIOD                              129.50
   *************************************** 2021 TOTALS YEAR-TO-DATE ****************************************
                                  TOTAL FEES CHARGED                                        0.00
                                  TOTAL INTEREST CHARGED                                  904.76




                                                            Please return this portion with your check



                                                                    Account Number                       Due Date             Payment Due          Amount Enclosed
                                                                                                    08/22/2021                    245.01

                      LYNN R COX
                      1204 HARRISON ST
                      PHILA, PA 19124-2910


  Make Check Payable To:

                      SANTANDER BANK, N.A.
                      P.O. BOX 16255
                      READING, PA 19612-6255
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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
In Re:                                                 Chapter 13
         Lynn Cox                                      Case No. 20-12774
                                                       Honorable Ashely M. Chan
Debtor
____________________________________________/

                                  CERTIFICATE OF SERVICE

        I, Melissa A. Epler of Santander Bank, N.A., do hereby certify that on August 3, 2021, I caused
to be served a copy of the Notice of Payment Change on the service list below by having a copy of
the same mailed by the first class mail, postage prepaid or other method specified on service list.

         Signed under the penalties of perjury, this 3rd day of August 2021.



                                                               ________________________________
                                                               Melissa A. Epler
                                                               Santander Bank, N.A.
                                                               Bankruptcy Administrator
                                                               450 Penn Street
                                                               Reading, PA 19602
                                                               (610) 401-9312
                                                               Email: DeftBkr@santander.us



VIA US MAIL
Lynn Cox
1204 Harrison Street
Philadelphia, PA 19124

VIA ECF
William C. Miller
P.O. Box 1229
Philadelphia, PA 19105

David M. Offen
DMO160WEST@GMAIL.COM
